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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                        Plaintiffs,             )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                        Defendant.              )

   PLAINTIFFS’ NOTICE OF FILING OF ADDITIONAL EXHIBITS IN SUPPORT OF
       OPPOSITION TO GOOGLE’S MOTION FOR SUMMARY JUDGMENT

         Plaintiffs hereby file the following additional exhibits that have been cited in their

  Opposition to Google’s Motion for Summary Judgment, and referenced in the Declaration of

  Aaron Teitelbaum, ECF No. 656-1:

                                      EXHIBITS 81-130

         These additional exhibits are included as attachments to this Notice.
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  Dated: May 17, 2024

  Respectfully submitted,

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